Case 1:18-cr-00567-VSB Document 154 Filed 01/10/20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,

VS.

CHRISTOPHER COLLINS, CAMERON
COLLINS, and STEPHEN ZARSKY

Defendants.

1:18-CR-00567 (VSB)

 

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SENTENCING MEMORANDUM ON BEHALF OF STEPHEN ZARSKY

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Stella Ciborowski (mother-in-law)
Gary Guthreau (friend)

John Owren (friend)

Beverly Tinnell (sister)

Ted Tolles (friend)

Francesca Vignola (friend)

Sandra Zablocki (friend)

Brandon Zarsky (son)

Dorothy Zarsky (wife)

10. Gene Zarsky (brother)

11. Lauren Zarsky (daughter)

12. Richard J. Uniacke (Executive Director of Bridges Outreach, Inc.)

13. Stephen Zarsky

B. Other Exhibits

1.

“A Report on Behalf of the American Bar Association Criminal Justice Section
Task Force on The Reform of Federal Sentencing for Economic Crimes,” The
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L Introduction

Stephen Zarsky respectfully submits this sentencing memorandum and supporting
documentation in advance of his sentencing hearing, currently scheduled for January 24, 2020.

As the Court is aware, on October 3, 2019, Mr. Zarsky pleaded guilty to one count of
conspiracy to commit securities fraud pursuant to 15 U.S.C. §§ 78j(n) and 78(ff) and 17 § C.F.R.
2440.10b-5. He also agreed to a two-level enhancement for obstruction of justice pursuant to U.S.
Sentencing Guidelines Manual § 3C1.1 due to the statements he made to the FBI during an April
2018 surprise, dawn interview. Through his plea, Mr. Zarsky accepted full and complete
responsibility for all of his improper conduct in this case, which was an aberration in an otherwise
unblemished and commendable life of 67 years. After careful consideration of Mr. Zarsky’s life
history, good character, serious | | concerns, the effects of the offense on Mr. Zarsky and his
family, and Mr. Zarsky’s sincere remorse and contrition, the United States Probation Office
(“Probation”) submitted a Presentence Investigation Report (“PSR”) concluding, “{a] variance
may be warranted in this case based on the defendant’s personal characteristics, such as his lack
of a criminal history, and his EB ccs.” PSR at 24.
Probation recommends a substantial downward variance pursuant to 18 U.S.C. § 3553(a) with a
custodial sentence of six months, a year of supervised release, and a $20,000 fine.

Probation has acknowledged Mr. Zarsky’s remorse and contrition. Specifically, Probation
correctly concluded that Mr. Zarsky “understand[s] the magnitude of his actions and the
seriousness of the offense and is extremely remorseful and regretful.’ PSR at 31. Further,
Probation confirmed that, “[Mr.] Zarsky has led a law-abiding life.” Jd, And Probation observed
Mr. Zarsky’s effort to make amends stating, “[Mr. Zarsky] has also cooperated in settling with the
SEC in an effort to rectify the situation.” Jd. Simply put, this case was an anomaly in the life of

an otherwise principled and law-abiding man.

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At the age of 67, Mr. Zarsky has led an exemplary life, committed to his family, his friends,
his profession, and his service to others. Other than the isolated and impulsive conduct that brings

him before the Court, his history is beyond reproach, and in many ways is admirable for

overcoming terrible hardships. Despite a very difficult
Ea Mr. Zarsky worked hard to build a career in project management

to support his family. As the numerous letters to the Court provided with this submission attest,
Mr. Zarsky is a devoted father, a loving husband, and a lifelong friend to many. Now, |
F | and retired, Mr. Zarsky stands before this Court a humbled, ashamed, and deeply remorseful
person. As Ted Tolles, Steve’s friend and neighbor of 30 years wrote, “[E]very day he must carry
the weight of that felony, publicly, on his shoulders...Steve’s legal troubles have caused him to
withdraw from our community, understandably, out of shame, born of regret.”! Similarly, his
daughter Lauren wrote, “As I’ve noted, my father is an emotional human-being, and although his
emotions may have caused him to make a regretful decision, he has undergone massive amounts

of angst and sorrow as a result of these events.”

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! This quotation and those that follow are taken from character letters written on Mr. Zarsky’s behalf. These letters
are attached to this memorandum as Exhibits Al-A12. Mr. Zarsky’s letter to Judge Broderick is attached as Exhibit
A13. Each of the letters is listed in a table of exhibits included at the beginning of this Sentencing Memorandum,
immediately following the table of authorities.

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Through this sentencing memorandum, we ask the Court to place Mr. Zarsky’s offense in
the context of the entirety of his otherwise exemplary life. His guilty plea reflects his recognition
that his actions in the instant case were absolutely wrong and that he fully accepts responsibility
for all of his conduct. That said, Mr. Zarsky attempted to avoid a personal financial loss, and did
not harm the general public. The offense in this case occurred impulsively, over the course of 24
hours; his conduct does not reflect a long-term, criminal enterprise motivated by greed and
financial gain. On June 22, 2017, Mr. Zarsky received material, non-public information about
negative test results for a drug made by Innate Immunotherapeutics Limited (“Innate”). Beside
himself with fear and anxiety over potentially losing the majority of his retirement savings, Mr.
Zarsky, in agreement with his future family member, sold his shares in Innate the following day.
He also shared the news with other friends and family members to protect them from major
financial loss as well. Mr. Zarsky unquestionably made a bad, impulsive decision in this isolated
incident, but the 24 hours do not define his entire character or his life of 67 years.

Courts and scholars recognize that the Guidelines range for insider trading offenses is
greatly disproportionate to the seriousness of the crime. This is primarily due to enhancements for
loss amount in the U.S.S.G. § 2B1.1 table. The Guidelines range is particularly incommensurate
in this case, where the conduct differs greatly in duration and scope compared to many other more

serious insider trading prosecutions involving financial industry professionals, unlike Mr. Zarsky.

This was not a multi-year, premeditated scheme. Here, Mr. Zarsky acted impulsively and made

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uncharacteristic lapses in judgment over a period of 24 hours. However, Mr. Zarsky recognizes
the seriousness of the offense and takes full responsibility for his actions.

We also ask the Court to consider the collateral consequences of Mr. Zarsky’s guilty plea.
He has been publicly humiliated due to the prominence of another defendant. At the winter of his
days, he has been branded a felon. This case consumed his entire family, and he has seen the

suffering of his wife, daughter, siblings, and future in-laws. Due to the pressure and anxiety caused

by the case, Mr. Zarsky was confronted by eee
ee It has been a dramatic and tragic fall from
grace for a beloved family man and upstanding community member.

There is no benefit to society in incarcerating an ailing 67-year-old husband and father. In
recent years, there has been increased advocacy for non-custodial sentences, especially cases
involving elderly, white-collar offenders, like Mr. Zarsky. A non-custodial sentence will provide
adequate deterrence, supply just punishment, and encourage respect for the law. Further, through
no fault of its own making, the Bureau of Prisons (“BOP”) is not sufficiently equipped to provide
adequate healthcare to Mr. Zarsky given its documented lack of resources, and Mr. Zarsky’s |
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There is no doubt that Mr. Zarsky will never appear before a criminal court again in his
life. While true that Mr. Zarsky made a bad, impulsive decision and violated the law on this one
occasion, he has already paid, and continues to pay, for his exercise of terrible judgment. Under
all the circumstances present in this case, we respectfully submit that a non-custodial sentence with
a substantial community service component suited to Mr. Zarsky’s qualifications will accomplish

the goals of sentencing.

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Mr. Zarsky already secured a volunteer position with a charitable enterprise that can
appropriately satisfy a community service obligation. On January 13, 2020, Mr. Zarsky will begin
volunteering for Bridges Outreach, Inc. (“Bridges”), an organization providing services to the
homeless in the greater New York City metropolitan area. Bridges volunteer workers deliver food
and other necessities to those suffering homelessness in the community. In addition to assisting
with deliveries, Mr. Zarsky will use his professional experience as a project manager to aid Bridges
in creating a strategic plan for the agency’s future growth. Through this effort, Mr. Zarsky has the
opportunity to change hundreds of lives in his community for the better. Certainly, this would
benefit society more than his incarceration.

For all of the reasons described herein, we respectfully request that the Court grant Mr.
Zarsky a variance pursuant to 18 U.S.C. § 3553(a). Furthermore, we respectfully request a non-
custodial sentence for Mr. Zarsky that includes a period of community service, which fulfills the
requirements of 18 U.S.C. § 3553(a) by imposing a sentence that is “sufficient, but not greater than
necessary” to meet the goals of sentencing.

IL. Background

This case arises from Mr. Zarsky’s family connection with former Congressman
Christopher Collins and his son Cameron Collins, the other co-defendants in this case. Mr.
Zarsky’s daughter, Lauren, is now engaged to Cameron Collins. Christopher Collins sat on the
board of directors of Innate, a biotechnology company headquartered in Sydney, Australia. Innate
was developing and researching a drug called MIS416, intended to treat Secondary Progressive
Multiple Sclerosis (“SPMS”). There is currently no cure for SPMS, so MIS416 had the potential
to immensely benefit the sufferers of a horribly debilitating disease. Due to his board position and

belief in the company, Christopher Collins was one of Innate’s largest stockholders. Cameron

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Collins was also a significant shareholder due, in part, to an initial investment Christopher Collins
made on his behalf. Through the influence of his future family and his interest to financially
benefit his family, Mr. Zarsky invested in Innate. Mr. Zarsky enthusiastically encouraged others
to invest, including his siblings Gene Zarsky and Beverly Tinnell, and his longtime friend Jarvis
Hoffer.

In October 2014, Innate initiated a clinical trial of MIS416, and successful completion of
the drug trial was a necessary step on the road to public distribution. In June 2017, Innate
completed the drug trial of MIS416 and, unfortunately, the trial failed. On the night of June 22,
2017, Christopher Collins received an email from Innate’s CEO, Simon Wilkinson, informing him
that MIS416’s clinical trial had been a failure and lacked therapeutic value in the treatment of
SPMS. The information regarding the trial’s failure was confidential and was not made public by
the company until the evening of June 26, 2017.

After receiving the email on June 22, Christopher Collins informed his son Cameron that
the drug trial had failed. That same night Cameron gave the information to Mr. Zarsky. Mr.
Zarsky was terrified by this information, and fearful that if he did not sell his shares, he would lose
his entire investment. Mr. Zarsky invested $143,900.00 in Innate, which made up the majority of
his retirement savings. With his significant i issues, Mr. Zarsky felt that he could not afford
to lose his entire retirement account. His mind was further plagued over deep concerns about the
welfare of his family and friends who invested in the company.

Motivated by gripping fear, the next morning Mr. Zarsky sold all of his Innate stock as a
result of his mounting stress and anxiety. Always the family man and friend, Mr. Zarsky could
not bear the idea of his siblings and close friend, Mr. Hoffer, also losing their investments, so with

a sense of misguided obligation, he informed them of the drug trial’s failure. Both selling his stock
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using material non-public information and spreading that information to others were poor lapses
in judgment. It was also a poor decision for Mr. Zarsky to invest his entire retirement account in
such a speculative enterprise, however, Mr. Zarsky’s actions were primarily motivated by his
desire to aid his family. He is not a sophisticated investor or a registered representative in the
financial services industry. He is not an insider who misappropriated client information for his
own financial gain or professional advancement. He invested in Innate because he hoped to
support the endeavors of his daughter’s future husband and father-in-law, and benefit his
immediate family. He sold his stocks because he did not want to overburden his wife and children
by losing his retirement savings. He informed his siblings and Mr. Hoffer about the drug trial
failure because he could not sit by and let them suffer losses when he could help prevent it. Mr.
Zarsky avoided a loss of $143,900, while the total loss avoided among all the family and friends
totaled $768,520 ($571,000 of which was the — sold by Cameron Collins). When confronted
by the FBI in a surprise, dawn interview on April 25, 2018, Mr. Zarsky, confused and terrified,
compounded his failings and denied receiving any non-public information, stating that an unnamed
friend had told him to invest in Innate. PSR at 43. As his son Brandon wrote, “[h]is misguided
desire to protect his friends and family at all costs, led him to act the way he did. While I appreciate
that this in no way absolves him, I think the context of his actions is important.”

To be clear, Mr. Zarsky’s motivations in this case are not offered to minimize his
acceptance of responsibility, or the gravity of the offense in any way. Mr. Zarsky committed a
crime, and he has accepted full responsibility for the offense and its consequences. Instead, the
details are provided to emphasize that the circumstances in this case are unique and do not resemble
a large, long-term, premeditated criminal enterprise designed to line his pockets. In this case, Mr.

Zarsky acted impulsively, out of fear, to avoid losing his investment and to help those close to

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him. His uncharacteristic lapses in judgment over the course of, ostensibly, 24 hours were an
anomaly that will not occur again. His false statements to the FBI during a surprise, dawn
interview, were equally instinctive, wrong, and misguided. The sentence to be imposed by this
Court should take into account that Mr. Zarsky’s conduct was truly an extraordinarily unusual
event in his otherwise commendable life of 67 years.
Iii. The Second Circuit Sentencing Model

After United States v. Booker, 543 U.S. 220, 264 (2005), the Sentencing Guidelines are not
determinative, they are the starting point in a judge’s determination. See Peugh v. United States,
569 U.S. 530, 536 (2013). The Guidelines are not necessarily reasonable in every case, and may,
in some instances, be affirmatively unreasonable. See Nelson v. United States, 555 U.S. 350, 352
(2008) (holding “[t]he Guidelines are not only not mandatory on sentencing courts, they are also
not to be presumed reasonable.”); United States v. Dorvee, 616 F.3d 174, 182 (2d Cir. 2010)
(noting that “[e]ven where a district court has properly calculated the Guidelines, it may not
presume that a Guidelines sentence is reasonable for any particular defendant.”). Sentencing
cannot, therefore, be a mechanical application of the Guidelines. Rather, a sentencing court should
take into account all the factors of a case, including the history of the case, along with factors set
forth in § 3553(a). See Rita v. United States, 551 U.S. 338, 364 (2007) (holding “it has been
uniform and constant in the federal judicial tradition for the sentencing judge to consider every
convicted person as an individual and every case as a unique study in the human failings that
sometimes mitigate, sometimes magnify, the crime and the punishment to ensue.” (Stevens, J. and
Ginsburg, J., concurring) (quotation omitted)).

Inherent in the guidance from the Supreme Court and the Second Circuit is also the concept

that punishment must be tempered with compassion, understanding, and mercy:

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Sentencing, that is to say punishment, is perhaps the most difficult
task of a trial court judge.” Jack B. Weinstein, Does Religion Have
a Role in Criminal Sentencing? , 23 Touro L. Rev. 539, 539 (2007).
While there are many competing considerations in every sentencing
decision, a sentencing judge must have some understanding of “the
diverse frailties of humankind.” See Woodson v. North Carolina,
428 U.S. 280, 304, 96 S.Ct. 2978, 49 L.Ed.2d 944 (1976) (plurality
opinion). In deciding what sentence will be “sufficient, but not
greater than necessary” to further the goals of punishment, 18 U.S.C.
§ 3553(a), a sentencing judge must have a “generosity of spirit, that
compassion which causes one to know what it is like to be in trouble
and in pain.” Guido Calabresi, What Makes a Judge Great: To A.
Leon Higginbotham, Jr., 142 U. Pa. L. Rev. 513, 513 (1993); see
also Edward J. Devitt, Ten Commandments for the New Judge, 65
A.B.A. J. 574 (1979), reprinted in 82 F.R.D. 209, 209 (1979) (“Be
kind. If we judges could possess but one attribute, it should be a kind
and understanding heart. The bench is no place for cruel or callous
people regardless of their other qualities and abilities. There is no
burden more onerous than imposing sentence in criminal cases.”).

United States v. Singh, 877 F.3d 107, 121 (2d Cir. 2017).

We submit that the circumstances in this case, when tempered with compassion,
understanding, and mercy, and taking into account the toll it has taken on Mr. Zarsky and his
family, and all the factors of § 3553(a), merit a non-custodial sentence of probation, community
service, and a minor penalty.

IV. The Guidelines Calculation
The Guidelines assign Mr. Zarsky an offense level of 21 as follows:

Base Offense Level +8
USSG §§ 2B1.4(a),

Specific Offense Characteristics: Loss +14
avoided of $768,520.00
USSG § 2B1.1(b)(1)(H)

Obstructing or Impeding +2
the Administration of Justice
USSG § 3C1.1

Acceptance of Responsibility

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USSG § 3E1.1(a) and (b) 3

Total Adjusted Offense Level 21

Mr. Zarsky has no criminal record, placing him in Criminal History Category I. His
Guidelines sentencing range is 37-46 months’ imprisonment. Probation recommends a sentence of
six months imprisonment with one year of supervised release, and a penalty of $20,000. We
generally agree with Probation’s basis for a variance and recommendation, however, we submit
that a non-custodial sentence is the most just outcome given the facts and circumstances of this
case and taking into account all of the § 3553(a) factors, as described in more detail below.

V. The 3553(a) Factors Compel a Below Guidelines Sentence

As the Court will see, the manner in which Mr. Zarsky has lived his life, his numerous
TO ———Ci‘C‘*s the nature of the offense, and the purposes and types
of punishment available warrant a non-custodial sentence. See 18 U.S.C. § 3553(a).

A. History and Characteristics of the Defendant
i. Personal History

Mr. Zarsky’s life is a compelling story of someone who was raised under extremely
difficult and unsupportive family circumstances, who then became the heart and backbone of his
own family despite these early difficulties. Throughout his life, Mr. Zarsky has always placed his
family and friends first, and he is considered a fundamentally kind and decent person by all who
know him.

Stephen Zarsky was born on fj 1952 in Summit, New Jersey to Elizabeth (née
Imrishek) and Eugene D. Zarsky. He has two siblings, his brother Gene, two years his senior, and
his sister Beverly, who is six years younger. Mr. Zarsky’s father owned and operated a tree

company in the Summit, New Jersey area. His father’s business was a successful one and the

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family enjoyed a middle-class lifestyle. Mr. Zarsky presently resides in his childhood home in

Summit.

Despite the family’s relative economic comfort, Mr. Zarsky experienced a

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hy Mr. Zarsky rose up as a source of love and support for his family and friends.
As his brother Gene Zarsky wrote, “[t]ogether, we faced many difficult challenges during our
formative years. I believe those shared experiences gave us strength and courage to move forward
in our lives in a positive manner. To this day, I value Stephen’s friendship and admire his courage
to remain positive during a very difficult time in his life.” Similarly, his sister Beverly Tinnell
shared that their mutual love of song writing helped both of them recover from their |
a. “We are both song writers and share a profound passion for telling stories about our
lives. This aptitude has
eee,
F This theme of Mr. Zarsky providing great support and comfort to his family and friends
remains a constant throughout his life.

After graduating from high school in 1970, Mr. Zarsky attended Edison Junior College in

Fort Meyers, Florida for two years and then obtained his Bachelor’s degree in philosophy from the

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University of Florida in Gainesville in 1976. He also obtained a computer programing degree
from the Chubb Institute in Parsippany, New Jersey in 1989, and became a certified program
project manager in 2003. Mr. Zarsky had a successful lifelong career as an IT project manager for
numerous companies, primarily in the healthcare sector. He worked as both a direct employee and
a consultant and has over twenty years of experience. Gary Guthreau met Mr. Zarsky in 2005
when they were working as consultants for the same client. He describes Steve as “very outgoing,
funny, talented, and loyal to his family and friends. He always brings a smile and a joke to start
the day and brings joy to everyone. He has a glass half full personality.” Mr. Guthreau also
recounts a time when both he and Mr. Zarsky were looking for a job at the same time:

Steve is not a selfish person by any means. After we first met in

2005, Steve was looking for another job and went on an interview

for a job with a different company. The job would be a shorter

commute, more money, a chance for advancement, and job security.

During the interview Steve decided that the job was really not a

match for him, but he recommended that the interviewer meet with

me as a better match. I was eventually offered the job, advancing

my career forward since that point. This was a selfless act! We only

knew each other for less than a year, yet he thought of my best

interests at a time when jobs were hard to come by. Steve passed up

a good opportunity for himself to the benefit of a friend. I will

forever be grateful for Steve’s action.
Even in his work life, Mr. Zarsky puts others’ needs ahead of his own and is highly regarded as a
kind and thoughtful person.

Mr. Zarsky met his wife Dorothy (née Ciborowski) on the Jersey Shore in 1985, and
according to Mrs. Zarsky, they “have had a very special and loving relationship ever since our first
date. Our relationship grew very quickly and we were soon inseparable. We enjoyed doing
everything together.” They became engaged a year later and married on September 12, 1987. Mrs.
Zarsky describes Mr. Zarsky’s interests and passions as her favorite thing about him. He taught

her to golf, cook, and enjoy “one of Steve’s strongest passions ... his music.” Mr. Zarsky

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composes, performs, and records his own music, and it is his favorite activity. The first thing the
Zarskys bought together as a couple was a piano, which Mr. Zarsky uses to this day. Mr. and Mrs.
Zarsky share a strong and loving marriage that has lasted over 32 years. They substantially rely
on one another and provide each other with constant love and support.

Mr. and Mrs. Zarsky also have two children, Brandon and Lauren. Brandon is 29 and an
attorney residing in Jersey City, New Jersey. Lauren is 25 and splits her time between Asbury
Park, New Jersey and Marco Island, Florida. Mr. Zarsky has a wonderful relationship with both
of his children, and he has devoted his life to providing them with a loving and nurturing
environment to compensate for what he was denied as a child. Mrs. Zarsky recounts how Mr.
Zarsky postponed his dreams of playing music professionally to get a corporate job when they
decided to have children, starting his career in 1989 as a programmer at MetLife. After the children
were born, Mrs. Zarsky states, “Steve’s whole life soon became all about taking care of his family.
Steve wanted to expose his children to everything in life. He shared his interests with our kids,
especially music.” Lauren also wrote, “Over the years, I know that he [Mr. Zarsky] formed many
lifelong friendships, however, I’ve since learned that finance and IT weren’t the fields that he was
truly passionate about. My dad worked very hard to support our family and sacrificed his pursuit
of music in exchange for our family’s comfort and security. He has exemplified giving and loving
above all else.”

Along with working hard to support his family, Mr. Zarsky made sure to be involved in his
children’s lives. Mr. Zarsky participated in sports, music, and Boy Scouts with his son, and he
supported Brandon in attending Northeastern University and Seton Hall Law School. Mr. Zarsky
also joined a father-daughter group called “Little Princesses” to spend more time with Lauren, and

later coached Lauren in soccer and basketball, never missing a game. Lauren wrote, “[m]y dad

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consistently prioritized spending quality time with me, even when I knew he had many other things
he could be doing instead.” Mr. Zarsky is overjoyed that both of his children are currently engaged
to such wonderful, loving people. He looks forward to their upcoming weddings and watching
their lives unfold.

Mr. Zarsky’s caring nature extends well beyond his immediate family to other family
members and friends. His brother Gene wrote that Mr. Zarsky “has always been a kind,
considerate and respectful brother.” Gene also remembers Mr. Zarsky’s close relationship with
his father-in-law Ed Ciborowski, who has since passed away, “Stephen and Ed had a very special
relationship that J delighted in every time I saw them together.” Mr. Zarsky’s mother-in-law, Stella
Ciborowski, considers Steve “a very hard worker and a great man.” Mr. and Mrs. Ciborowski
lived for ten years with the Zarskys to provide childcare for their grandchildren while Mr. and Mrs.
Zarsky were at work. Mrs. Ciborowski wrote that “Stephen was always there when it counted,
and never got home late. Even after a hard day’s work, he would always cook dinner for all of us.
It was touching to see what he would do for his family.”

Mrs. Zarsky’s childhood best friend Sandra Zablocki wrote that “Stephen has come to my
aid and offered me his assistance on multiple occasions.” Ms. Zablocki called Mr. Zarsky when
she heard a noise inside her clothes dryer. Mr. Zarsky went to her house to catch and release the
bird that was trapped inside. Another time, he rescued Ms. Zablocki from the train station when
her car died due to sub-zero winter weather, then drove her back to her car the next morning to
meet AAA. Lauren Zarsky’s childhood friend, Francesca Vignola, has been close with the Zarsky
family for over 20 years and wrote that Mr. Zarsky’s “true character cannot be determined by this
one involvement and decision alone, but by a lifetime of being someone people can count on, joke

with and love dearly.” Mr. Zarsky comforted Ms. Vignola when she was Po

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“for over an hour” and she wrote that “it is a distinct memory I have of a conversation I never
would’ve been able to have with anyone else that helped me get through an unfavorable situation.”

As discussed above, Stephen Zarsky is 67 years old and eee)
I ca! reports detailing Mr.
Zarsky’s current medical condition have been submitted to the Probation Department and

incorporated into the Presentence Report.

Mrs. Zarsky provides constant care

and support to Mr. Zarsky I She wrote:

 

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B. The Nature and Circumstances of the Offense

Mr. Zarsky pled guilty to one count of conspiracy to commit securities fraud and has agreed
to accept a sentencing enhancement because of his false statements to the FBI. This is no doubt a
serious crime and related conduct, however, it was Mr. Zarsky’s first and only offense, he has
taken full responsibility for his actions, and he is committed to making amends.

i. The Guidelines Place a Disproportionate Emphasis On the Loss Amount

Mr. Zarsky’s high offense level of 21 is principally due to the loss avoidance figures
associated with a co-defendant. The loss table set forth in section 2B1.1(b)(1) increases Mr.
Zarsky’s offense level by 14 points. For good reason, there has been much discussion recently
about the disproportionate sentences occasioned by financial crimes as a result of the Guidelines’
loss table. “Under the Guidelines, it may well be that all but the most trivial frauds in publicly
traded companies may trigger sentences amounting to life imprisonment.” United States v. Ebbers,

458 F.3d 110, 129 (2d Cir. 2006); see also United States v. Faibish, No. 12-CR 265 (ENV)

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(E.D.N.Y. Aug. 3, 2015) (“The loss table is but one example of the seemingly mindless
acceleration of penalties for economic crimes incorporated into the current Sentencing Guidelines
regime.”’).

As Judge Rakoff observed, the Sentencing Guidelines “reflect an even more draconian
approach to white-collar crime, unsupported by any empirical data.” United States v. Gupta, 904
F, Supp. 2d 349, 351 (S.D.N.Y. 2012); see also United States v. Adelson, 441 F. Supp. 2d 506,
509 (S.D.N.Y. 2006) (Rakoff, J.) (noting that the government’s calculation of the Guidelines was
driven by, “more than any other single factor...the inordinate emphasis that the Sentencing
Guidelines place in fraud cases on the amount of actual or intended loss”). Recognizing this fact,
the Second Circuit has explained that sentencing adjustments based on loss amounts should trigger
a thorough consideration by the sentencing court as to the reasonableness of the offense level. See
United States v. Algahaim, 842 F.3d 796, 800 (2d Cir. 2016) (noting that the enhancements for
loss amount in § 2B1.1 of the Guidelines is unique, and that “its unusualness is a circumstance that
a sentencing court is entitled to consider”); see also Adelson, 441 F. Supp. 2d at 509; Gupta, 904
F. Supp. 2d at 350-51.

In addition to this Circuit’s disdain for white-collar sentencing under the Guidelines, there
has been widespread criticism across the legal profession. In 2014, the American Bar Association
(ABA) commissioned a task force to review and propose reforms to the Guidelines sentencing for
economic crimes.* The task force recommended that there should be an offense level cap of 10
for first time offenders and “a sentence other than imprisonment is generally appropriate.”° In an

article for the Iowa Law Review, U.S. District Judge Mark W. Bennett, along with law professors

 

* See “A Report on Behalf of the American Bar Association Criminal Justice Section Task Force on The Reform of

Federal Sentencing for Economic Crimes,” The A.B.A. Crim. Just. Section (Nov. 10, 2014). Attached hereto as Exhibit
BIL.
3 Id. at 2.

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Justin D. Levinson and Koichi Hioki, emphasized the need for an overhaul of sentencing for white-
collar fraud cases.° Though discussing fraud, the article’s implications are the same for white-
collar insider trading offenses. The authors “urge five particular and realistic reforms the
Commission should adopt to improve the fundamental fairness of the [sentencing] guideline,
beginning with significant cuts to the so-called ‘loss table’ as well as the specific offense
characteristics that frequently lead to nearly nonsensical sentencing guidelines.”’ The authors
make numerous suggestions for increasing the fairness of white-collar sentencing, concluding:
“{ flailing these recommendations, we respectfully request that the Commission consider scrapping
section 2B1.1 completely.”*

The advisory Guidelines range of 37-46 months in this case places an undue emphasis on
loss and does not take into account the unique circumstances of the case. We whole heartedly
agree with Probation that sentence far below the Guidelines range is warranted in this case. As
discussed previously, Mr. Zarsky avoided a loss of $143,900, while the total loss avoided among
all involved with the case totaled $768,520 ($571,000 of which was the shares sold by Cameron
Collins). Given the widespread disdain for sentencing based on loss amount across the legal
profession, Mr. Zarsky’s Guidelines range is not an appropriate indicator of the sentence he should
receive. Instead, the balance of factors weigh in favor of a non-custodial sentence.

ii. Mr. Zarsky Has Already Suffered Significant Collateral Consequences

Mr. Zarsky has suffered physically and mentally as result of the case, [EN

HE. A fier pleading guilty, he has been labeled a felon for the rest of his life. As

 

© See Mark W. Bennett, Justin D. Levinson & Koichi Hioki, Judging Federal White-Collar Fraud Sentencing: An
Empirical Study Revealing the Need for Further Reform, 102 lowa L. Rev. 939 (2017), Attached hereto as Exhibit
B2.

7 Td. at 944.

8 Td. at 989

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a result of the concurrent civil proceedings with the Securities and Exchange Commission
(“SEC”), Mr. Zarsky has agreed to pay disgorgement in the amount of $143,900, plus interest of
$15,980, in order to start making amends for his wrongful actions. This case was also prominently
featured in the media as a result of Christopher Collins’ position in Congress.’ Mr. Zarsky did not
— a life in the public eye, but the worst mistake of his life has been broadcast locally,
nationally, and internationally. Mr. Zarsky’s 30-year friend and neighbor Ted Tolles wrote,
“(flolks are aware of Steve’s illegal behavior and every day he must carry the weight of that felony,
publicly, on his shoulders. And that ain’t over by a long shot.” As this case directly involved his
family (and future in-laws), Mr. Zarsky has also had to endure the suffering of his wife, daughter,
siblings, and his daughter’s future family. Lauren Zarsky emphasized that “[a]n additional note
must also be made about the suffering and torment my father has already endured.” Mr. Zarsky’s
crime did not harm thousands of victims directly, or devastate financial institutions or nonprofit
organizations. He takes full responsibility for all of his wrongful conduct and has taken steps, and
is committed, to making amends for his actions. Mr. Zarsky is a man who made a crucial error in
judgement, but not one who deserves six months in prison, given the potential negative health
consequences that Mr. Zarsky may suffer, even for a short period of incarceration.

C. The Need for the Sentence Imposed and Types of Sentences Available

i. Incarceration Serves No Reasonable Purpose in This Case

 

° See e.g. Benjamin Weiser and Vivian Wang, “Rep. Chris Collins Resigns Before Expected Guilty Plea in Insider
Trading Case,” New York Times, Sept. 30, 2019, hitps://www.nytimes.com/2019/09/30/nyregion/rep-chris-collins-ny-
insider-trading html (“Cameron Collins and the third defendant, Stephen Zarsky, whose daughter is engaged to
Cameron Collins...”); Dan Mangan, “GOP Rep. Chris Collins’ son and son’s fiancé bought drug company stock days
before Collins warned about failed trial, the SEC alleges” CNBC, Aug. 9, 2018,
https://www.cnbc.com/2018/08/09/rep-collins-son-and-sons-fiancee-bought-more-drug-company-stock.htm! (“The
complaint was filed at the same time as a federal criminal indictment Wednesday accusing Chris Collins, Cameron
Collins and Zarsky’s father Stephen Zarsky of insider trading.”).

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Incarceration serves no purpose here, other than a punitive one, and it would be greatly
detrimental to Mr. Zarsky’s health and well-being. The purposes of punishment are not to destroy
a person’s body and soul. In the words of the late Judge Frankel of the Southern District of New
York, in imposing a sentence of probation:

The court is told—and knows in any event—that the defendant has
suffered terribly in the intervening years of investigation,
uncertainty, legitimate efforts to avoid indictment, the awful
decision to plead guilty, and the tortured wait for the day of
sentence...““The defendant has suffered enough already” is a
familiar refrain to sentencing judges. But the familiar is not
necessarily contemptible. The refrain tells a true and moving story.
United States v. Braun, 382 F. Supp. 214, 214-15 (S.D.N.Y. 1974) (Frankel, J.). This is especially
true for Mr. Zarsky for the aforementioned reasons. He is not in need of rehabilitation, and there
is nothing in his past that suggests he will reoffend. To the contrary, the damage he has caused to
his life makes it next to impossible that he will risk so much for so little again.
ii. A Sentence Without Incarceration Will Afford Adequate Deterrence,
Protect the Public, Supply Just Punishment, and Encourage Respect
for the Law

Incarceration serves no specific deterrence goal here. There is no risk that Mr. Zarsky will
commit an offense in the future after the acute hardship he has already suffered as a result of this
case. As discussed above, Mr. Zarsky has already experienced serious collateral consequences as
a result of his actions. He lost the majority of his retirement savings,
ME, was shamed publicly by the media, and most painfully has had to endure the distress and
hardship of his loved ones. Mr. Zarsky also will live the rest of his life as a felon, losing various
civil rights and carrying the stain of conviction with him. As the court stated in Adelson, “[with

the defendant’s] reputation ruined by his conviction, it was extremely unlikely that he would ever

involve himself in future misconduct.” See Adelson, 441 F. Supp. 2d at 514. As Probation

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recognizes, Mr. Zarsky “acted in an aberrant manner” very different from his otherwise “law-
abiding life.” PSR at 31. Specific deterrence will be more than achieved through a non-custodial
sentence, there is no danger that Mr. Zarsky will commit any illegal actions ever again.

Nor is the goal of general deterrence furthered by incarceration, for no one could look at
the example of Mr. Zarsky’s conduct and wish to risk so much for so little. The many collateral
consequences, combined with a non-custodial sentence of probation with community service will
serve as a strong example to anyone considering insider-trading. Mr. Zarsky lost so much as a
result of the offense and his case will demonstrate that impulsively breaking the law, even with
misguided good intentions, will lead to dire consequences.

Additionally, Society will derive no benefit from incarcerating Mr. Zarsky. Mr. Zarsky
has never been arrested prior to this case, and he poses no danger to the public. To the contrary,
Society will benefit immediately should Mr. Zarsky receive a non-custodial sentence through his
community service at Bridges, where Mr. Zarsky will make a positive societal impact by helping
the homeless in New Jersey and New York City. Also, though discussed more thoroughly below,
Mr. Zarsky will burden the BOP with his numerous | health needs. With a non-
custodial sentence, Mr. Zarsky can continue to receive the excellent care from his medical team
that he relies on presently to remain healthy, and remove the burden and cost from the BOP.

The Court has alternatives to incarceration. In recent years, there has been increased
advocacy for the use of alternatives to custodial sentences, recognizing, at least in white-collar
cases, that incarceration provides little added deterrent value. See, e.g., United States v. Gardellini,
545 F.3d 1089, 1091 (D.C. Cir. 2008) (noting that, in white-collar cases, a government

investigation alone can serve as a deterrent); Adelson, 441 F. Supp. 2d at 514 (finding that “there

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is [] considerable evidence that even relatively short sentences can have a strong deterrent effect
on prospective ‘white collar’ offenders”).

Our nationwide analysis of white-collar cases revealed that significant departures below
the Guidelines ranges are the norm and that probation is common. Judges in the Southern District
and elsewhere have recognized that non-custodial sentences are appropriate and provide just
punishment for insider trading cases. Judge Swain recently sentenced Robert Stewart, a 61-year-
old father to four years’ probation including a year of home confinement. See United States v.
Stewart, 15-CR-287 (LTS) (S.D.N.Y. May 4, 2016). Stewart pleaded guilty to participating in a
trading scheme producing $1.6 million in profits. See id Similarly, Judge Chin sentenced Ken
Okada to three years’ probation for his participation in an insider trading ring. See United States
v. Okada, 07-CR-144 (DC) (S.D.N.Y. May 6, 2008). Okada made $300,000 in profits and made
false statements to the FBI prior to his plea. See id.'°

As demonstrated by these cases, non-custodial sentences are common for white-collar
insider trading cases, and a sentence of probation with community service will serve the interests

of justice in Mr. Zarsky’s case.

ili. Should the Court Conclude Probation is Insufficient Punishment, A
Period of Home Confinement Could Be Considered to Augment Mr.

Zarsky’s Sentence

We strongly suggest that a sentence of probation with community service is sufficient and
just in this case. However, should the Court have strong reservations about probation, the Court

could consider a period of home confinement as a condition of probation as an adequate alternative

 

19 See also United States v. Bonthu, 18-CR-237 (AT) (N.D. Ga. 2018) (Defendant sentenced to eight months home
confinement after sale of stocks due to inside information); United States v. Yu, 17-CR-349 (MS) (D.N.J. 2017)
(Defendant sentenced to one year of home confinement following guilty plea for insider trading); United States v.
Perez, 17-CR-538 (MS) (D.N.J. 2017) (Defendant who traded using inside tips sentenced to one year home
confinement); United States v. Zeringue, 14~CR-67 (BAJ) (RLB) (M.D. La. 2014) (defendant tipper sentenced to three
years’ probation); United States v. Peterson, 11-CR-665 (RPP) (S.D.N.Y. Oct. 11, 2011) (tipper sentenced to two
years’ probation).

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to incarceration as a component of a just sentence. Home detention is defined by the United States

Sentencing Guidelines as:

...a program of confinement and supervision that restricts the
defendant to his place of residence continuously, except for
authorized absences, enforced by appropriate means of surveillance
by the probation office. When an order of home detention is
imposed, the defendant is required to be in his place of residence at
all times except for approved absences for gainful employment,
community service, religious services, medical care, educational or
training programs, and such other times as may be specifically
authorized.!!

Home detention in the Federal system “ranges from a simple nighttime curfew to a 24-
hour-a-day ‘lock-down’ home incarceration.” !* The extent to which individuals are permitted to
leave their residence is determined on a case-by-case basis, depending on the goals of supervision
and the orders of the court.!? If the Court determines that the “amenities available in the residence
of a defendant would cause home detention not to be sufficiently punitive,” it is permitted to “limit
the amenities available.”

Home detention has gained acceptance in the federal criminal justice community as a
credible sanction and alternative to incarceration.'° Judges have imposed home confinement more
frequently as they have “learned more about what it offers” and discovered its cost effectiveness. '®
Recently, Congress enacted the First Step Act, Pub. L. 115-391, which supports the BOP placing

elderly inmates in home confinement and “authorizes the Bureau to maximize the amount of time

spent on home confinement when possible” for low risk offenders.'’ The First Step Act also

 

"U.S. Sentencing Guidelines Manual § 5F1.2, Application Note 1.

“Darren Gowen, “Overview of the Federal Home Confinement Program,” Federal Probation, 11 (Dec. 2000).
Attached hereto as Ex. B3.

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4U.S. Sentencing Guidelines Manual §5F1.2, Application Note 2.

SGowen at 12.

'6Gowen at 11.

17 See Memorandum, U.S. Dep’t of Justice, Federal Bureau of Prisons, “Home Confinement under the First Step Act”

(Apr. 4, 2019). Attached hereto as Ex. B4.

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expanded upon an earlier pilot program to place elderly and terminally ill inmates in home
confinement. !®

While we believe probation with community service is the appropriate sentence in this
case, in the event that the Court believes more is needed, a period of home confinement may be an

alternative consideration in lieu of a period of incarceration.

iv. Mr. Zarsky Will Not Receive Adequate Care If Incarcerated

Mr. Zarsky is concerned that he will not receive adequate care EE

BR 10 stark contrast, independent reports conclude that the BOP is struggling to cope
with the needs of an increasingly elderly prison population, and it is also failing to provide
adequate [MJ health services to many inmates.

For example, in 2016, the Office of the Inspector General at the Department of Justice (the
OIG) published a report criticizing the BOP’s treatment of elderly prisoners, (“OIG Report”) titled
“The Impact of an Aging Inmate Population on the Federal Bureau of Prisons.”'? The report notes
the fast growing population of federal inmates age 50 and older. OIG Report at 2. The report’s
findings state that the BOP lacks the appropriate staffing levels, physical infrastructure, and
programming to address the needs of aging inmates.” Asa result, elderly inmates are not receiving

adequate medical care. From the report:

 

'8 Td. (“The Bureau may release some or all eligible elderly offenders and eligible terminally ill offenders from Bureau
facilities to home detention, upon written request from either the Bureau staff, or an eligible elderly offender or eligible
terminally ill offender.”).

'8 Office of the Inspector General, “The Impact of an Aging Inmate Population on the Federal Bureau of Prisons,”
U.S. Dep’t of Justice, Feb. 2016. Attached hereto as Ex. BS.

20 Td. at 2-3.

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We further found that the increasing population of aging inmates has
resulted in a need for increased trips outside of institutions to
address their medical needs but that institutions lack correctional
officers to staff these trips and have limited medical staff within
institutions. As a result, aging inmates experience delays in
receiving medical care. For example, using BOP data from one
institution, we found that the average wait time for inmates,
including aging inmates, to be seen by an outside medical specialist
for cardiology, neurosurgery, pulmonology, and urology to be 114
days. In addition, we found that while Social Workers are uniquely
qualified to address the release preparation needs of aging inmates,
such as aftercare planning and ensuring continuity of medical care,
the BOP, which employs over 39,000 people, has only 36 Social
workers nationwide for all of its institutions.”!

Similarly, three doctors writing for the Journal of General Internal Medicine published an
article raising concerns about the inadequate care of elderly patients, entitled “The Need for Higher
Standards in Correctional healthcare to Improve Public Health.”? In the article, the doctors
describe the inadequate care received by elderly prison inmates: “Conditions commonly associated
with advancing age—multimorbidity, sensory impairment, disability, dementia, and end-of-life
care—present unique challenges in the correctional environment, and can lead to worsening health,
increased vulnerability to injury or victimization, and increased healthcare utilization and cost.”™

The BOP also is not providing adequate mental healthcare to inmates. In November 2018,
the nonprofit news organization The Marshall Project published an article revealing findings from
a Freedom of Information Act request they sent to the BOP.” The “request shows that instead of
expanding treatment, the bureau has lowered the number of inmates designated for higher care

levels by more than 35 percent. Increasingly, prison staff are determining that prisoners—some

 

21 Td at 3.

» Josiah D. Rich, Scott A. Allen, and Brie A. Williams, “The Need for Higher Standards in Correctional Healthcare
to Improve Public Health,” 30 J. Gen, Intern. Med, 503 (2014). Attached hereto as Ex. B6.

3 Td

4 Christie Thompson and Taylor Elizabeth Elridge, “Treatment Denied: The Mental Health Crisis in Federal Prisons,”
The Marshall Project, Nov. 21, 2018, https://www.themarshallproject.org/2018/11/21/treatment-denied-the-mental-
health-crisis-in-federal-prisons#. Attached hereto as Ex. B7.

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with long histories of psychiatric problems—don’t require any routine care at all.”> A chart
created by the National Institute of Mental Health shows that while 35.3% of federal inmates have
ever received mental health treatment, only 24% of them receive it after being admitted to prison.”®
Further, while 25.6% of Federal inmates have attended therapy, only 15.1% of them receive any
therapy after they are incarcerated. The OIG also published a report (“OIG Mental Health Report”)

reviewing the BOP’s use of restrictive housing for inmates with mental illness.*” The OIG reported

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BOP data showed that, as of 2015, only 3 percent of the BOP’s
sentenced inmate population was being treated regularly for mental
illness. Yet, the BOP’s FY 2016 Performance Budget Congressional
Submission cited an internal BOP study, which suggested that
approximately 19 percent of federal inmates had a history of mental
illness. Moreover, a 2006 Bureau of Justice Statistics report
concluded that 45 percent of federal inmates had symptoms or a
recent history of mental illness. We found that the BOP cannot
accurately determine the number of inmates who have mental illness
because institution staff do not always document mental disorders.”®

 

5 Td. at 2.

26 “Mental Health Treatment Among  Prison/Jail Inmates,’ Natl Ins. of Mental Health,
https://www.nimh.nih.gov/health/statistics/prevalence/file_148261.pdf. Attached hereto as Ex. B8.

2” Office of the Inspector General, “Review of the Federal Bureau of Prisons’ Use of Restrictive Housing for Inmates
with Mental Illness,” U.S. Dep’t of Justice, July 2017. Attached hereto as Ex. B9.

3 Id at 3.

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V. Probation with Community Service is the Appropriate Sentence
A sentence of community service is strongly encouraged in appropriate cases. The
Administrative Office of the United States Courts has observed that community service is “a
flexible, personalized, and humane sanction, a way for the offender to repay or restore the
community. It is practical, cost-effective, and fair—a ‘win-win’ proposition for everyone
involved.””°
“Community service addresses the traditional sentencing goals of punishment, reparation,
restitution, and rehabilitation . . . It restricts offenders’ personal liberty[,] allows offenders to atone,
[and] may be regarded as . . . a form of symbolic restitution when the community is the victim.”*°
In selecting an appropriate candidate to perform community service, the Office of Probation and
Pretrial Services recommends:
[C]ourts can use community service successfully with a wide
spectrum of offenders: corporations and individuals, first offenders
and recidivists, the indigent and the affluent, juveniles and senior
citizens. Not every offender is a good candidate for community
service...Courts look for offenders with personal and social stability,

who are willing, motivated, and who have no history of violence.*!

Stephen Zarsky has personal and social stability, is extremely willing and motivated, and has

 

2? “Court & Community: An Information Series about U.S. Probation and Pretrial Services: Community Service,”
Office of Probation and Pretrial Services, Administrative Office of the U.S. Courts (2007). Attached hereto as Ex.
B10.

30 Id
31 Td

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absolutely no history of violence.
Sentencing judges have recognized that community service can serve as a significant
sanction. In a case in the Eastern District of New York, where the defendant pleaded guilty to

conspiracy to defraud financial institutions and others to the tune of over $100 million, former

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Judge John Gleeson spoke eloquently of the value of community service:

The prospect of a sentence that does not include incarceration,
which is explicit in the papers submitted by your lawyers, is a
daunting one for no other reason than it might fail to promote respect
for the law which is one of the things a sentence must do for
someone who participated so integrally in a fraud from, as far as
your piece of it is concerned, cost financial institutions, what, $110
million.

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In fact, you know, one might say how could, no matter how essential -
you were to the prosecution of the more culpable participants in this

crime, how do you justify an intelligent, accomplished businessman

such as yourself committing this type of crime and not being sent to

jail, not being, having the punishment include that type of

condemnation, the most significant form of condemnation a

sentencing judge in a financial crime can mete out?

But nothing should ever be out of bounds and I’ve struggled with
your lawyer’s request, struggled with it throughout the presentations
I’ve heard here, and I conclude that a sentence that doesn’t include
incarceration is appropriate here. Alternatives to incarceration exist
that can carry both the community and this Court’s condemnation
of your conduct but channel it in a way that’s more constructive,
given your significant charitable works and contributions before
this case, given the extraordinary timing of your cooperation and its
nature .... don’t think the goals of sentencing here require you to be
incarcerated.

I am placing you on probation for a period of five years. One special
condition of probation would be that you be in home detention for a
period of six months.

Another is that you perform 500 hours of community service. It

strikes me that you can do some good in your community. You
already have. It seems to me you deserve it. The combination of

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circumstances in your case makes you worthy of serving your
punishment in a manner that’s a little more constructive than going
to jail.**

More recently, the United States Department of Justice Manual discussed “expanding the
use of diversion programs.” It further states that, as one of its strategies to achieve this objective,
“(t]he Department is taking steps to identify and share best practices for enhancing the use of
diversion programs, such as . . . community service initiatives that can serve as effective
alternatives to incarceration.”**

Courts have also recently been more inclined to impose sentences of probation with
community service as an alternative to incarceration in appropriate cases. In United States v.
Samson, the Chairman of the Port Authority of New York/New Jersey pleaded guilty to knowingly
and corruptly accepting bribes from United Airlines in exchange for favorable treatment. See
Judgment, United States v. Samson, No. 2:16-CR-00334-1 (JLL) (D.N.J. Mar. 7, 2017) (ECF No.
24). The government in Samson argued for a sentence of two years’ imprisonment. See Gov't
Sentencing Letter at p. 2, Samson, No. 2:16-CR-00334-1 (JLL) (D.N.J. Mar. 2, 2017) (ECF No.
16). The defendant in Samson was 77 years old at the time of sentencing, and also had numerous
health issues like Mr. Zarsky. See Defendant Sentencing Letter at p. 35, Samson, No. 2:16-CR-
00334-1 (SLL) (D.N.J. Mar. 2, 2017) (ECF No. 13-1). On March 6, 2017, Judge Jose Linares
sentenced the defendant to five years of probation, with 12 months home confinement, and 3,500

hours of community service over the term of probation. See Judgment, United States v. Samson,

No. 2:16-CR-00334-1 (JLL) D.N.J. (ECF No. 24).

 

32 Sentencing Transcript, United States v. Shamilzadeh, No. 04-CR-1094 (E.D.N-Y. Apr. 1, 2008) at pp. 10-12.

33-1 U.S. Department of Justice Manual (Wouters Kluwer 3d ed. 2017), Comment 1-2,000A, U.S. Department of
Justice Strategic Plan, Fiscal Years 2014-2018 (2017-3 Supplement), Objective 3.4.

34 Id

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In United States v. Chatwal, the defendant pleaded guilty to providing straw donors with
illegal campaign contributions, resulting in an advisory Guidelines range of 46-57 months. See
Gov’t Sentencing Memorandum at pp. 3, 8, United States v. Chatwal, No. 1:14-cr-00143(ILG)
(E.D.N.Y. Dec. 10, 2014) (ECF No. 28). Judge Glasser in the Eastern District of New York
sentenced the defendant to 1,000 hours of community service with an agency that helped youth
obtain employment after imprisonment on Riker’s Island. See Judgment, Chatwal, No. 1:14-cr-
00143(ILG) (E.D.N.Y. Dec. 19, 2014) (ECF Nos. 32, 33).

Finally, community service as an alternative has also been used in the Western District of
New York for first-time offenders. In February 2014, the Honorable Frank P. Geraci, Jr. sentenced
a defendant to probation and home confinement with the expectation that he would continue his
community service with a camp for disabled and autistic children in Rochester, New York. This
defendant pleaded guilty to a $2.5 million tax evasion charge and had an advisory Sentencing
Guidelines range of 30-37 months (United States vs. John Gizzi: 6:13 CR 06046-0001). Prior to
sentencing, Mr. Gizzi had performed over 100 hours of community service with the Sunshine
Camp, a program of the Rochester Rotary Club. Post-sentencing, he performed over 2,000 hours
of additional community service. These authorities all indicate that probation with community
service can be an appropriate sentence, and all of these cases highlight the value to the community
that first-time offenders like Mr. Zarsky can provide.

Community service is an appropriate sentence in this case. Mr. Zarsky fully understands
the consequences of his criminal conduct and has demonstrated to those who know him well that
his remorse is deeply felt and genuine; he will never re-offend. For all the reasons set forth in this
memorandum, we submit that a sentence of incarceration is not necessary to satisfy the goals and

purposes of sentencing. Instead, we recommend a sentence of probation with community service

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for Stephen Zarsky with Bridges Outreach, Inc., (Bridges), a nonprofit organization focused on
services for the homeless in New York City and Newark, Irvington, and Summit, New Jersey.
D. Community Service Proposal

Bridges initially began in September 1988 when Geoff and Ginger Worden made their
first of many Friday night trips carrying brown bag lunches, hot soup and coffee to the homeless
people living under the Brooklyn Bridge (hence the organization’s name) and on the streets of
lower Manhattan. Today, over 2,000 volunteers help deliver more than 65,000 brown bag meals,
10,000 pairs of socks and underwear, 7,500 toiletry kits, 49,000 cups of soup, and literally tons of
donated clothing annually to over 21,000 homeless individuals in New York City, and Newark
and Irvington, New Jersey.

In March 2014, Bridges established Project Connect in Newark. Through this effort,
professional case managers work with homeless clients individually to create an attainable set of
goals that will lead to better health and, ultimately, permanent housing, steady employment, and
an independent, self-sufficient life. In addition, through a partnership with St. James Health,
Bridges’ Project Connect provides onsite medical services to clients in need of medical attention.

By connecting volunteers whose housing is established and secure with homeless
individuals, Bridges also seeks to increase understanding, awareness, and acceptance of the issues
and challenges facing those who are currently homeless. Bridges’ vision is the elimination of the
social and economic divides between the housed and the homeless. Through Bridges’ Street
Outreach, volunteers compassionately and respectfully deliver ready-made meals, clothing and
personal care necessities to the most vulnerable homeless and food insecure.

Every Friday, Bridges opens its doors in Summit, New Jersey to indigent residents and

offers showers, clothing, and other necessities. The organization also provides new backpacks and

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school supplies for more than 1,000 children in Summit who are eligible for the federal
government’s free and reduced lunch program. Annually, the agency offers a health fair for
community members.*>

Stephen Zarsky starts volunteering with Bridges on January 13, 2020. Bridges’ Executive
Director Richard Uniacke provided a letter to the Court describing the work Mr. Zarsky will
perform at Bridges. Mr. Zarsky’s first assignment will be to clear out and help re-organize Bridges’

storage facility in Springfield, New Jersey. He will also join staff and volunteers when teams go

into the community on “Runs” to distribute packaged, prepared meals, warm soup, and personal

care hygiene kits to homeless individuals. Bridges is eager to have Mr. Zarsky volunteer and Mr.
Uniacke is willing to “support the request of a sentence with probation with community service
with Bridges.” He elaborates that “Stephen Zarsky seems to have a genuine concern for others in
need in his community, and that spirit of caring is what we seek in our volunteers.”

In addition, if given a sentence of probation with community service with Bridges, Mr.
Zarsky could create a strategic plan for the agency. He has years of successful professional
experience as a project manager and is highly skilled in helping organizations develop essential
and effective “road maps” for their futures. He could certainly apply those same invaluable skills
to aid Bridges in designing and implementing a most needed strategic vision and plan. Few
nonprofit agencies have the time or resources to generate strategic plans. Many operate on
extremely limited budgets and rely on volunteers to do much of the agency’s work. As Mr.
Uniacke wrote, “[g]iven Steve’s extensive professional background in project management. |
know, over time, we will be able to tap into his invaluable skills to help Bridges develop and

implement effective program and project plans.” Access to someone with as experienced a skill

 

35 See Bridges Outreach, https://www.bridgesoutreach.org/ (last visited January 9, 2020).

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set as Mr. Zarsky’s is something few nonprofit agencies can afford. Bridges’ staff, volunteers, and
the vulnerable clients the organization diligently serves will all benefit greatly from having Mr.
Zarsky’s assistance.

Mr. Zarsky has many talents to share, a reliable work ethic, and a true sense of commitment
to give back to those in need. We therefore respectfully ask the Court to consider a sentence of
probation with community service for Mr. Zarsky with Bridges Outreach, Inc.

VI. = Conclusion

Mr. Zarsky has made poor decisions, and he is deeply remorseful for all of his actions in
this matter. However, Mr. Zarsky respectfully requests that the Court not let his misguided
conduct, which has already taken his retirement and the reputation of his family, continue to
destroy his life through a prison sentence and take time away from his family. Mr. Zarsky is
dedicated to atoning for his mistakes through meaningful community service. As a 67 year old,
non-violent, first-time offender, with significant health issues, we respectfully suggest that a non-
custodial sentence is warranted here, based on the § 3553(a) factors, and request that the Court

consider imposing probation, community service with Bridges, and a penalty.

 

Dated: New York, New York /s/ Mauro M. Wolfe
January 10, 2020 Mauro M., Wolfe, Esq.
Sarah Fehm Stewart, Esq.

Jovalin Dedaj, Esq.

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